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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                        Case No.: 1:17-cv -24500-JLK

   JACOB ZOWIE THOMAS RENSEL,
   individually and on behalf of all others
   similarly situated,

                          Plaintiff,

   V.


   CENTRA TECH, INC ., SOHRAB SHARMA ,
   RAYMOND TRAPANI, ROBERT FARKAS,
   and WILLIAM HAGNER,

                          Defendants.

                                 DECLARATION OF STEVE SYKES

          I, Steve Sykes, declare as follows :

           1.     I am employed by defendant Centra Tech , Inc . ("Centra Tech ") as Chief

   Technology Officer. I am responsible for all customer experiences related to Centra Tech ' s

   website. I am authorized to make this Declaration on behalf of defendants Centra Tech, Inc.,

   Sohrab Sharma , Raymond Trapani , Robert Farkas, and William Hagner (together,

   "Defendants "), and do so in support of the Motion to Compel Arbitration and Stay Proceedings ,

   and in the Alternative to Dismiss.

          2.      This declaration is based on my own personal knowledge of the matters stated

   herein, my review of relevant records , and my discussions with other Centra Tech employees.

          3.      Centra Tech is a start-up company based in Miami, Florida that develops and

   markets innovative technology allowing individuals around the world to store and spend their

   virtual currency , such as Bitcoin ("BTC ") and Ethereum ("ETH").
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           4.      Centra Tech's products include: (1) the Centra Wallet, a digital wallet in which

   individuals can keep and access several denominations of virtual currency; and (2) the Centra

   Card, a prepaid debit card that allows individuals to spend their virtual currency in real-time for

   goods and services at vendors around the world.

           5.     From July 30, 2017 through September 26, 2017, Centra Tech held an initial coin

   offering ("ICO") in which it issued to the public a "utility token" of its own creation-the Centra

   Token ("CTR").

           6.       As part of my job responsibilities, I am personally familiar with the content and

   maintenance of Centra Tech's website. The documents attached as exhibits to this Declaration

   are true and accurate copies of documents maintained by Centra Tech and its affiliates, including

   independent contractors, in the ordinary course of business.

          7.      I am personally familiar with the process customers had to complete to purchase

   Centra Tokens during the Centra Tech ICO.

          8.      I am aware that Mr. Rensel has filed a lawsuit regarding his acquisition of Centra

   Tokens during Centra Tech's ICO. Mr. Rensel's Complaint states that he purchased Centra

   Tokens during the Centra Tech ICO on or about July 30, 2017.

          9.      The main way that a customer, including Mr. Rensel, could have purchased

   Centra Tokens on or about July 30, 2017, was to visit the Token Sale page of the Centra Tech

   website. A true and correct copy of the Centra Tech Token Sale page in effect as of July 30,

   2017 is attached as Exhibit 1 to this declaration.

           10.    To purchase CTR Tokens, visitors to Centra Tech's Token Sale page were

   required to click a button labeled "BUY TOKENS NOW INSTANTLY." See Exhibit 1. Upon

   clicking "BUY TOKENS NOW INSTANTLY," visitors were automatically directed to a pop-up
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   window with a scroll bar displaying the "Token Sale Agreement & Terms and Conditions." A

   true and correct copy of Centra Tech's Token Sale pop-up window in effect as of July 30, 2017

   is attached as Exhibit 2 to this declaration .

           11.     A true and correct copy of the complete Centra Tech "Token Sale Agreement"

   displayed in the aforementioned pop-up window throughout the Centra Tech ICO is attached as

   Exhibit 3 to this declaration.

           12.     The Token Sale Agreement contains the following provisions regarding

   arbitration:

           [This agreement] CONTAINS A BINDING ARBITRATION CLAUSE AND
           CLASS ACTION WAIVER, WHICH, IF APPLICABLE TO YOU, AFFECT
           YOUR LEGAL RIGHTS . IF YOU DO NOT AGREE TO THESE TERMS OF
           SALE, DO NOT PURCHASE TOKENS.

           ***
           [A]ny dispute arising under this Agreement shall be finally settled in binding
           arbitration , on an individual basis ... and you and Centra Tech, Inc. hereby
           expressly waive trial by jury and right to participate in a class action lawsuit or
           class-wide arbitration.

   Exhibit 3 (Token Sale Agreement§ 11 (capitals in original)).

           13.    To purchase Centra Tokens, visitors were then required to click a box next to the

   statement: "I hereby confirm that I read and agree to the Token Sales Terms and [C]entra [T]ech

   White Paper." See Exhibit 2. Visitors were also required to click a box next to the statement: "I

   Hereby acknowledge that the Token Sale does not receive equity in Centra Tech, Inc." See

   Exhibit 2. Visitors were then requested to enter their full name or initials "to digitally sign and

   agree," and then click a button labeled "SIGN & AGREE ". See Exhibit 2.

           14.    After clicking "SIGN & AGREE ," visitors were directed to a new pop-up window

   titled "Send Your Contribution Using ETH," where the visitors were provided the wallet address

   to which they would provide the virtual currency used to fund their purchase of Centra Tokens,
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   and then click a button labeled "Add shipping ." A true and correct copy of the Centra Tech

   website pop-up window titled "Send Your Contribution Using ETH" in effect as of July 30, 2017

   is attached as Exhibit 4 to this declaration.

           15.     After clicking the button labeled "Add shipping, " visitors were directed to a new

   page window titled "Add Shipping," where visitors were directed to provide contact information

   including first name , last name, street address, city, state, email address , phone number, country ,

   and their ETH wallet address. Further, visitors were required to (1) click a box confirming they

   "read and agree to the Token Sale Terms and [C]entra [T]ech White Paper "; (2) click a box

   acknowledging that "the Token Sale does not give me equity, shares or secur ities in Centra Tech ,

   Inc. and the Centra Token [has] utility ;" and (3) click the "Submit " button to complete the

   process . A true and correct copy of the Centra Tech website pop-up window titled "Add

   Shipping" in effect as of July 30, 2017 is attached as Exhibit 5 to this declaration.

          16.     Centra Tech business records reflect that Mr. Rensel successfully purchased CTR

   Tokens in exchange for 16.1 ETH on July 30, 2017. An true and accurate excerpt of Centra

   Tech ' s log of purchasers, showing Mr. Rensel's acquisition of Centra Tokens , is attached as

   Exhibit 6.

          17.     During the time that Mr . Rensel purchased CTR, there was no other method to

   submit personal information such as physical address and e-mail address to Centra Tech. Centra

   Tech could not have obtained this information if Mr. Rensel had not followed the

   aforementioned process and agreed to the Token Sale Agreement.

          18.     Mr. Rensel ' s physical address , e-mail address, and wallet address are stored in

   Centra Tech's purchaser records. See Exhibit 6. As a result , I know that Mr. Rensel (1) clicked

   the box confirming he read and agreed to the Token Sales Terms and Centra Tech White Paper ;
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   (2) clicked the box acknowledging that the Token Sale does not receive equity in Centra Tech,

   Inc .; (3) clicked the "SIGN & AGREE" button; (4) entered his personal information , including

   name, physical address , and email address; (5) clicked a second box confirming he "read and

   agree[d] to the Token Sale Terms and [C]entra [T]ech White Paper"; (6) clicked a box

   acknowledging that "the Token Sale does not give me equity, shares or securities in Centra Tech,

   Inc . and the Centra Token [has] utility ;" and (7) clicked the "Submit " button to complete the

   process.

          I declare under penalty of perjury under the laws of the United States of America that the

   foregoing is true and correct.

          Executed this 2nd day of February, 2018.



                                                 Srevet/F
                                                     J. ~--
